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                                  R.Y.L. Inc., a California corporation
                          7

                          8                                                          UNITED STATES DISTRICT COURT

                          9                                         FOR THE CENTRAL DISTRICT OF CALIFORNIA

                       10

                       11            R.Y.L. INC., a California corporation,                             CASE NO.:
                       12                                               Plaintiff,                      COMPLAINT FOR PATENT
                                                                                                        INFRINGEMENT, TRADE DRESS
                       13            V.                                                                 INFRINGEMENT FALSE
                                                                                                        DESIGNATION dF ORIGINj AND
                       14            SCIENTIFIC GLASS ART, INC. a                                       UNFAIR BUSINESS PRACT CES
                                     California com_oration; JORGE OMAR
                       15            AVILA MARTINEZ also known as                                       DEMAND FOR JURY TRIAL
                                     JORGE AVILA and ANDANTE
                       16            AVILA, an individual; BARAKAT
                                     ZAHRAN also known as ZAHRAN
                       17            BARAK.AT and HISHAM BARAK.AT,
                                     an individual; and DOES 1 through 50,
                       18            inclusive,
                       19
                                                                        Defendants.
                       20

                       21

                       22                           PlaintiffR.Y.L. Inc., a California corporation ("Plaintiff' or "R.Y.L." herein),
                       23         complains of Defendants, and each of them, and alleges as follows:
                       24                                                                   INTRODUCTION
                       25                           1.               This action is based upon the manufacture and sale by the Defendants
                       26         of merchandise that is confusingly similar to the design patent and/or includes
                       27         material elements of the utility patents owned by Plaintiff for disposable vials for
                       28         packing tobacco to be smoked, which are protected by U.S. Patent No. D827,152 (the
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                                                                                                COMPLAINT
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                         1       "'152 Patent" herein), U.S. Patent No. 10,492,525 (the '"525 Patent" herein), U.S.
                         2       Patent No. 10,512,281 (the '"281 Patent" herein), and U.S. Patent No. 10,602,772 (the
                         3       "'772 Patent" herein), respectively.
                         4                                                              THE PARTIES
                         5                        2.               PlaintiffR.Y.L. Inc. is, and all times mentioned herein was, a California
                         6       corporation qualified to do business in the State of California, with its principal place
                         7       of business located in the County of Los Angeles, State of California.
                         8                        3.               Plaintiff is informed and believes, and based upon such information and
                         9       belief alleges, that Defendant Scientific Glass Art, Inc. ("Scientific Glass Art" herein)
                      1o         is, and at all times mentioned herein was, a California corporation duly organized and
                      11         existing under the laws of the State of California, with its principal place of business
                      12         located in the County of Los Angeles, State of California.
                      13                          4.               Plaintiff is informed and believes, and based upon such information and
                      14         belief alleges, that Defendant Jorge Omar Avila Martinez also known as Jorge Avila
                      15         and Andante Avila ("Avila" herein), is, and at all times mentioned herein was, an
                      16         individual, whose place of residence was in the County of Los Angeles, State of
                      17         Califomia. Plaintiff is informed and believes, and thereon alleges that at all times
                      18         mentioned herein, Defendant Avila was an officer, director and/or controlling
                      19         shareholder of Defendant Scientific Glass Art.
                      20                          5.               Plaintiff is informed and believes, and based upon such information and
                      21         belief alleges, that Defendant Barakat Zahran also known as Zahran Barakat and
                      22         Hisham Barakat ("Zahran" herein), is, and at all times mentioned herein was, an
                      23         individual, whose place of residence was in the County of Los Angeles, State o
                      24         California. Plaintiff is informed and believes, and thereon alleges that at all times
                      25         mentioned herein, Defendant Zahran is an officer, director and/or controlling
                      26         shareholder of Defendant Scientific Glass Art.
                      27                          6.               Plaintiff is informed and believes, and based upon such information and
                      28         belief alleges, that Defendants Scientific Glass Art, Avila, and Zahran (collectively
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                                                                                            COMPLAINT
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                        1      "Defendants" herein) are engaged in the business of manufacturing, importing,
                        2      and/or selling tobacco products, including disposable vials for packing tobacco to be
                       3        smoked, some of which are labeled "INEX".
                       4                       7.              Plaintiff is informed and believes, and thereon alleges, that there exists,
                        5 and at all times mentioned herein there existed, a unity of interest and ownership
                       6       between Defendant Scientific Glass Art and Defendants Avila and Zahran such that
                       7       the individuality and separateness between Defendant Scientific Glass Art and
                        8      Defend ants Avila and Zahran have ceased; that Defendants Avila and Zahran have
                        9      used the assets of Defendant Scientific Glass Art for their own personal use; that
                     1o        Defendant Scientific Glass Art is, and at all times mentioned herein was, a mere shell,
                     11        instrumentality and conduit through which Defendants Avila and Zahran carried on
                     12        their business exactly as they would have done absent this entity, exercising complete
                     13        control and dominance of such business to such an extent that any individuality or
                     14         separateness of Defendant Scientific Glass Art does not, and at all times herein
                     15        mentioned, did not exist; and that Defendant Scientific Glass Art is, and at all times
                     16        herein mentioned was, controlled, dominated and operated by Defendants Avila and
                     17        Zahran as their business and alter ego.
                     18                        8.              Plaintiff does not know the true names and capacities, whether
                     19        corporate, associate, individual, partnership or otherwise, of Defendants named
                     20        herein as Does 1 through 50, inclusive, and therefore sues said Defendants by such
                     21        fictitious names. Plaintiff is informed and believes, and on such information and
                     22        belief alleges, that each of said Defendants was, and is, in some manner, negligently,
                     23        tortiously or otherwise responsible for the events and damages referred to herein.
                     24        Plaintiff will amend this Complaint to show the true names and capacities of said
                     25        Defendants and each of the charging allegations when said have been ascertained.
                     26                        9.              Plaintiff is informed and believes, and on such information and belie
                     27        alleges, that in doing the things herein alleged, Defendants, and each of them, acted
                     28        as the agents, servants or employees of each of the other Defendants, and in doing
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                                                                                        COMPLAINT
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                          1       the things herein alleged, acted within the course and scope of said agency, service
                         2 or employment. Each of the acts of said Defendants was previously authorized and
                         3        subsequently ratified by each of the other Defendants and the managerial employees
                         4        thereof.
                         5                                                          JURISDICTION AND VENUE
                         6                         10.              This action arises under the patent and trademark laws of the United States,
                         7        15 U.S.C. §§ 1051 et seq. and 35 U.S.C. §§ 1 et seq. This Court has subject matter
                         8       jurisdiction under 15 U.S.C. § 1121 (action arising under the Lanham Act), 28 U.S.C.
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                         9        § 1331 (federal question), 28 U.S.C. § 1338(a) (any Acts of Congress relating to patents
                       10         or trademarks), 28 U.S.C. § 1338(b) (action asserting claim ofunfaircompetitionjoined
                       11         with a substantial and related claim under the trademark laws), and 28 U .S.C. § 1367
                       12         (supplemental jurisdiction).
                       13                           11.             This Court has personal jurisdiction over Defendants Scientific Glass Art,
                       14 Avila, and Zahran because each of them has committed and continues to commit acts
                       15         of infringement in violation of 35 U.S.C. § 271 and 15 U.S.C. § 1125 and places
                       16 infringing products into the stream of commerce, with the knowledge or understanding
                       17         that such products are sold in the State of California, including in this District. The acts
                       18         by Defendants Scientific Glass Art, Avila, and Zahran cause injury to PlaintiffR.Y.L.
                       19         in this District. Upon information and belief, Defendants Scientific Glass Art, Avila,
                      20          and Zahran derive substantial revenue from the sale of infringing products within this
                      21          District, expect their actions to have consequences within this District, and derive
                      22          substantial revenue from interstate and international commerce.
                      23                            12.             Venue is proper within this District under 28 U.S.C. §§ 139l(b) and (c)
                      24          because Defendants Scientific Glass Art, Avila, and Zahran transact business within
                      25          this District and offer for sale in this District products that infringe Plaintiff R. Y.L. 's
                      26          patents and trade dress. In addition, venue is proper because Plaintiff R.Y.L.'s
                      27          principal place of business is in this District and Plaintiff has suffered harm in this
                      28          District. Moreover, a substantial part of the events giving rise to the claims occurred
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                                                                                              COMPLAINT
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                         1       in this District.
                        2                                                                    BACKGROUND
                        3                                                        Plaintiff R.Y.L.' s Patents and Trade Dress
                        4                         13.             At all material times herein, Plaintiff has been and is engaged in the
                        5       manufacture and sale of tobacco pipes and smoking products and accessories.
                        6                         14.             On June 5, 2017, Plaintiffs predecessor in interest filed the U.S. Patent
                        7       Application for the ' 152 Patent, which was entitled "Disposable Vial". It was assigned
                        8       Application No. 29/606,518. On July 26, 2018, the assignment transferring all rights
                        9       to the '152 Patent to Plaintiff was recorded. The '152 Patent was issued on August
                      1O 28, 2018. A true and correct copy of the '152 Patent is attached hereto as Exhibit "1"
                      11        and incorporated by reference.
                      12                          15.             On May 11, 2017, Plaintiffs predecessor in interest filed the U.S. Patent
                      13        Application for the '525 Patent, which was entitled "Method of Making a Disposable
                      14        Vial for Packing Tobacco to be Smoked".                                       It was assigned Application No.
                      15         15/593 ,242. On July 18, 2018, the assignment transferring all rights to the '525 Patent
                      16         to Plaintiff was recorded. The '525 Patent was issued on December 3, 2019. A true
                      17         and correct copy of the '525 Patent is attached hereto as Exhibit "2" and incorporated
                      18        by reference.
                      19                          16.             On January 21, 2016, Plaintiffs predecessor in interest filed the U.S.
                     20          Patent Application for the '281 Patent, which was entitled "Method of Making a
                     21          Disposable Vial for Packing Tobacco to be Smoked". It was assigned Application No.
                     22          15/003,442. On January 25, 2017, the assignment transferring all rights to the '281
                      23         Patent to Plaintiff was recorded. The '281 Patent was issued on December 24, 2019.
                     24          A true and correct copy of the '281 Patent is attached hereto as Exhibit "3" and
                     25          incorporated by reference.
                      26                          17.             On January 26, 2017, Plaintiffs predecessor in interest filed the U.S.
                      27         Patent Application for the '772 Patent, which was entitled "Method of Making a
                     28          Disposable Vial for Packing Tobacco to be Smoked". It was assigned Application No.
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                                                                                                  COMPLAINT
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                        1       15/417,010. On February 3, 2017, the assignment transferring all rights to the '772
                       2       Patent to Plaintiff was recorded. The '772 Patent was issued on March 31, 2020. A
                        3      true and correct copy of the '772 Patent is attached hereto as Exhibit "4" and
                       4       incorporated by reference.
                        5                       18.            Plaintiff and/or its predecessors have used the methods and designs
                        6      contained in the '152 Patent, the '525 Patent, the '281 Patent, and the '772 Patent
                        7      continuously since on or about January 2016 in connection with the manufacture and
                        8       sale of disposable vials for packing tobacco to be smoked.
                       9                        19.            Plaintiff and/or its predecessors also hold trade dress protection in the
                     1o design and appearance of its disposable vials. Plaintiffs disposable vials, which are
                     11        sold under the trade name "Lock-N-Load", have a distinctive shape and appearance:
                     12        a compact, straight cylinder of transparent, clear glass with a black screw-on end cap,
                     13        and the "Lock-N-Load" logo appearing on the glass portion of the vial on a black
                     14        rectangular background. Each of these elements is distinctive and serves to identify
                     15        Plaintiff as the source of the disposable vials. Moreover, none of these elements is
                     16        functional.
                     17                        20.             Plaintiff and/or its predecessors have been engaged in the sale o
                     18        tobacco pipes and smoking products and accessories to various retail outlets
                     19        throughout the United States since at least 2007.
                     20                  Defendants Scientific Glass Art, Avila, and Zahran's Infringing Products
                     21                        21.             In or about February 2020, Plaintiff discovered that notwithstanding
                     22        Plaintiffs prior and exclusive statutory rights to use the '152, '525, '281, and '772
                     23        Patents and all similar variations thereof, Defendants, without Plaintiffs consent,
                     24        reproduced or purchased reproductions of the disposable vials protected by the '152,
                     25         '525, '281, and '772 Patents and/or confusingly similar variations thereof, for the
                     26        Defendants' own use and sale, some of which are labeled "INEX" (the "Counterfeit
                     27        and Infringing Merchandise").
                     28                        22.             Defendants' Counterfeit and Infringing Merchandise also mimics a
                                                                                            6
                                                                                        COMPLAINT
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                       1      combination of several elements of the trade dress of Plaintiff's disposable vials,
                      2       namely, a product configuration with a compact, straight cylinder of transparent,
                      3       clear glass with black screw-on end caps, and the "INEX" logo appearing on the
                      4       glass portion of the vial on a black rectangular background.
                      5                      23.            Rather than invest in the expensive and time-consuming effort that
                      6       would have been necessary to innovate and develop their own products, Defendants
                      7       instead decided to copy Plaintiff's designs, methods, and style in its infringing
                      8       products. By doing so, Defendants took improper shortcuts, thereby avoiding the
                      9       investments that would have been necessary had Defendants not used Plaintiff's
                    1o designs and methods.                                Defendants' misappropriation of Plaintiff's designs and
                    11        methods are crucial to its attempt to unfairly compete against Plaintiff. Plaintiff is
                    12        informed and believes that Defendants have each engaged in no less than one
                    13        hundred ( 100) separate instances of infringement.
                    14                       24.            Defendants' Counterfeit and Infringing Merchandise has no substantial
                    15        non-infringing uses.
                    16                       25.             Defendants' Counterfeit and Infringing Merchandise has a substantially
                    17        similar ornamental appearance to the disposable vials disclosed in Plaintiff's issued
                    18        '152 Patent, which is likely to lead the public to believe Defendants' Counterfeit and
                    19        Infringing Merchandise are licensed by, sponsored by, or otherwise affiliated with
                    20        those sold by Plaintiff, when in fact they are not. Further, Defendants' Counterfeit
                    21        and Infringing Merchandise includes all of the elements of Claims 1 and 6 of the
                    22        disposable vials disclosed in Plaintiff's issued '525 Patent. Plaintiff is also informed
                    23        and believes that the method by which Defendants manufacture the Counterfeit and
                    24        Infringing Merchandise includes all of the elements of Claim 1 of Plaintiff's issued
                    25        '281 Patent and Claims 1 and 8 of Plaintiff's issued '772 Patent. Defendants'
                    26        Counterfeit and Infringing Merchandise also infringe upon the trade dress o
                    27        Plaintiff's disposable vials.
                    28                       26.             On March 9, 2020, Plaintiff issued a "cease and desist" letter to
                                                                                          7
                                                                                      COMPLAINT
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                         1       Defendants advising them of Plaintiffs patent rights and demanding that Defendants,
                        2        and each of them, cease and desist with their wrongful conduct and immediately
                        3        discontinue the manufacture and sale of the Counterfeit and Infringing Merchandise.
                        4        Despite Plaintiffs demand, Defendants, and each of them, have intentionally and
                        5 surreptitiously continued to sell the Counterfeit and Infringing Merchandise.
                        6                         27.             If the manufacture and sale of the Counterfeit and Infringing
                        7 Merchandise by the Defendants is not restricted by this Court: (a) the public will be

                         8       confused, misled and deceived as to the source and origin of the Defendants'
                        9        products and will mistakenly purchase products of inferior quality that are not
                      10         authorized by Plaintiff; (b) the distinctive value and reputation of Plaintiffs products
                      11         will be diluted, impairing the value of its licensing program; (c) Defendants will
                      12         benefit from the goodwill enjoyed by Plaintiffs products; and (d) Plaintiff will suffer
                      13         from the permanent loss of substantial revenues from the sale of licensed products.
                      14         Plaintiff has no adequate remedy at law to prevent these injuries.
                      15                          28.             Despite repeated demands by Plaintiff, Defendants have refused to
                      16         discontinue their wrongful conduct and willfully continue to infringe upon Plaintiffs
                      17         '152, '525, '281, and '772 Patents and the trade dress rights in its disposable vials to
                      18         unfairly compete with Plaintiff.
                      19                                                           FIRST CLAIM FOR RELIEF
                      20                                                          (Infringement of the '152 Patent)
                      21                          29.             Plaintiff realleges and incorporates herein by reference each of the
                      22         allegations in paragraphs 1 through 28, inclusive, of this Complaint, as if fully set
                      23         forth herein.
                      24                          30.              On August 28, 2018, the United States Patent and Trademark Office
                      25         ("USPTO" herein) duly and legally issued the' 152 Patent to Plaintiff
                      26                          31.              The '152 Patent is presumed valid pursuant to 35 U .S.C. § 282.
                      27                          32.              Defendants Scientific Glass Art, Avila, and Zahran, through their agents,
                      28         employees, and servants, have and continue to directly infringe, engage in acts o
                                                                                                  8
                                                                                              COMPLAINT
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                        1       contributory infringement, and/or induce the infringement of the '152 Patent, by
                        2       directly and/or indirectly making, using, selling, offering for sale, and/or importing the
                        3       Counterfeit and Infringing Merchandise, some of which are labeled "INEX", having
                       4        a design that is substantially similar to the disposable vials disclosed in the '152 Patent.
                        5       Defendants' infringing activities violate 35 U.S.C. § 271.
                        6                       33.             Defendants' acts of infringement of the '152 Patent were undertaken
                        7       without permission or license from Plaintiff
                        8                       34.             Plaintiff R.Y.L. is informed and believes, and on that basis alleges, that
                        9       Defendants' infringement of the '152 Patent has been and continues to be intentional,
                     1O willful, and without regard to Plaintiff R. Y .L. 's rights. Plaintiff R. Y .L. is informed
                     11         and believes, and on that basis alleges, that Defendants' infringement of the '152
                     12         Patent is and has been intentional, deliberate, and willful because at a minimum, they
                     13         had knowledge of the '152 Patent through direct or indirect communications with
                     14         Plaintiff R.Y.L. and/or as a result of their participation in the tobacco and smoking
                     15         products industry prior to engaging in their acts of infringement.
                     16                         3 5.            Plaintiff R. Y .L. is informed and believes, and on that basis alleges, that
                     17         as a direct and proximate result of Defendants' infringement of the '152 Patent,
                     18         Defendants have derived and received gains, profits, and advantages in an amount to
                     19         be proven at time of trial, but which Plaintiff believes are not less than the sum of
                     20         $50,000.00.
                     21                         36.             As a direct and proximate result of Defendants' infringement of the' 152
                     22         Patent, Plaintiff R.Y.L. has sustained damages in an amount to be proven at time o
                     23         trial, but which Plaintiff believes are not less than the sum of $50,000.00.
                     24                         37.             Due to the aforesaid infringing acts, Plaintiff has suffered and will
                     25         continue to suffer great and irreparable injury from Defendants' infringement of the
                     26         '152 Patent. Plaintiff has no adequate remedy at law and is entitled to an injunction
                     27         against Defendants' continuing infringement of the '152 Patent. Unless enjoined,
                     28         Defendants will continue their infringing conduct.
                                                                                              9
                                                                                          COMPLAINT
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                        1                                                     SECOND CLAIM FOR RELIEF
                        2                                                     (Infringement of the '525 Patent)
                        3                       3 8.           Plaintiff real~eges and incorporates herein by reference each of the
                        4       allegations in paragraphs 1 through 37, inclusive, of this Complaint, as if fully set
                        5       forth herein.
                        6                      39.             On December 3, 2019, the USPTO duly and legally issued the '525
                        7       Patent to Plaintiff.
                        8                      40.             The '525 Patent is presumed valid pursuant to 35 U.S.C. § 282.
                        9                      41.             Defendants Scientific Glass Art, Avila, and Zahran, through their agents,
                     10         employees, and servants, have and continue to directly infringe, engage in acts o
                     11         contributory infringement, and/or induce the infringement of the '525 Patent, by
                     12         directly and/or indirectly making, using, selling, offering for sale, and/or importing the
                     13        Counterfeit and Infringing Merchandise, some of which are labeled "INEX", that
                     14        include all of the elements of Claims 1 and 6 of the disposable vials disclosed in
                     15         Plaintiffs '525 Patent. Defendants' infringing activities violate 35 U .S.C. § 271.
                     16                        42.             Defendants' acts of infringement of the '525 Patent were undertaken
                     17        without permission or license from Plaintiff.
                     18                        43.             Plaintiff R.Y.L. is informed and believes, and on that basis alleges, that
                     19        Defendants' infringement of the '525 Patent has been and continues to be intentional,
                     20        willful, and without regard to Plaintiff R.Y.L.'s rights. Plaintiff R.Y.L. is informed
                     21        and believes, and on that basis alleges, that Defendants' infringement of the '525
                     22        Patent is and has been intentional, deliberate, and willful because at a minimum, they
                     23         had knowledge of the '525 Patent through direct or indirect communications with
                     24         Plaintiff R.Y.L. and/or as a result of their participation in the tobacco and smoking
                     25        products industry prior to engaging in their acts of infringement.
                     26                        44.             Plaintiff R.Y.L. is informed and believes, and on that basis alleges, that
                     27         as a direct and proximate result of Defendants' infringement of the '525 Patent,
                     28        Defendants have derived and received gains, profits, and advantages in an amount to
                                                                                             10
                                                                                          COMPLAINT
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                        1       be proven at time of trial, but which Plaintiff believes are not less than the sum of
                        2       $50,000.00.
                        3                        45.             As a direct and proximate result of Defendants' infringement of the '525
                        4       Patent, Plaintiff R. Y .L. has sustained damages in an amount to be proven at time of
                        5       trial, but which Plaintiff believes are not less than the sum of $50,000.00.
                        6                        46.             Due to the aforesaid infringing acts, Plaintiff has suffered and will
                        7       continue to suffer great and irreparable injury from Defendants' infringement of the
                        8        '525 Patent. Plaintiff has no adequate remedy at law and is entitled to an injunction
                        9 against Defendants' continuing infringement of the '525 Patent. Unless enjoined,

                      1o Defendants will continue their infringing conduct.
                      11                                                         THIRD CLAIM FOR RELIEF
                      12                                                         (Infringement of the '281 Patent)
                      13                         4 7.             Plaintiff realleges and incorporates herein by reference each of the
                      14         allegations in paragraphs 1 through 46, inclusive, of this Complaint, as if fully set
                      15        forth herein.
                      16                         48.              On December 24, 2019, the USPTO duly and legally issued the '281
                      17        Patent to Plaintiff.
                      18                         49.              The '281 Patent is presumed valid pursuant to 35 U.S.C. § 282.
                      19                         50.              Defendants Scientific Glass Art, Avila, and Zahran, through their agents,
                     20          employees, and servants, have and continue to directly infringe, engage in acts o
                     21          contributory infringement, and/or induce the infringement of the '281 Patent, by
                     22          directly and/or indirectly making, using, selling, offering for sale, and/or importing the
                     23          Counterfeit and Infringing Merchandise, some of which are labeled "INEX", that
                     24          were manufactured by a method that includes all of the elements of Claim 1 of the
                      25         method for making the disposable vials disclosed in Plaintiffs '281 Patent.
                      26         Defendants' infringing activities violate 35 U.S.C. § 271.
                      27                         51.              Defendants' acts of infringement of the '281 Patent were undertaken
                      28         without permission or license from Plaintiff
                                                                                                11
                                                                                             COMPLAINT
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                         1                        52.              Plaintiff R.Y.L. is informed and believes, and on that basis alleges, that
                         2       Defendants' infringement of the '281 Patent has been and continues to be intentional,
                         3       willful, and without regard to Plaintiff R.Y.L. 's rights. Plaintiff R.Y.L. is informed
                         4       and believes, and on that basis alleges, that Defendants' infringement of the '281
                         5       Patent is and has been intentional, deliberate, and willful because at a minimum, they
                         6       had knowledge of the '281 Patent through direct or indirect communications with
                         7       Plaintiff R.Y.L. and/or as a result of their participation in the tobacco and smoking
                         8       products industry prior to engaging in their acts of infringement.
                         9                        53.              Plaintiff R. Y .L. is informed and believes, and on that basis alleges, that
                      10         as a direct and proximate result of Defendants' infringement of the '281 Patent,
                      11         Defendants have derived and received gains, profits, and advantages in an amount to
                      12         be proven at time of trial, but which Plaintiff believes are not less than the sum o
                      13         $50,000.00.
                      14                          54.              As a direct and proximate result of Defendants' infringement of the '281
                      15         Patent, Plaintiff R. Y .L. has sustained damages in an amount to be proven at time o
                      16         trial, but which Plaintiff believes are not less than the sum of $50,000.00.
                      17                          55.              Due to the aforesaid infringing acts, Plaintiff has suffered and will
                      18         continue to suffer great and irreparable injury from Defendants' infringement of the
                       19         '281 Patent. Plaintiff has no adequate remedy at law and is entitled to an injunction
                      20          against Defendants' continuing infringement of the '281 Patent. Unless enjoined,
                      21         Defendants will continue their infringing conduct.
                      22                                                           FOURTH CLAIM FOR RELIEF
                      23                                                           (Infringement of the '772 Patent)
                      24                           56.             Plaintiff realleges and incorporates herein by reference each of the
                      25          allegations in paragraphs 1 through 55, inclusive, of this Complaint, as if fully set
                      26          forth herein.
                      27                           57.             On March 31, 2020, the USPTO duly and legally issued the '772 Patent
                      28         to Plaintiff.
                                                                                                  12
                                                                                               COMPLAINT
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           Case 2:20-cv-05606-RGK-JC Document 1 Filed 06/25/20 Page 13 of 22 Page ID #:13



                        1                       58.              The '772 Patent is presumed valid pursuant to 35 U.S.C. § 282.
                        2                       59.             Defendants Scientific Glass Art, Avila, and Zahran, through their agents,
                        3       employees, and servants, have and continue to directly infringe, engage in acts o
                        4       contributory infringement, and/or induce the infringement of the '772 Patent, by
                        5       directly and/or indirectly making, using, selling, offering for sale, and/or importing the
                        6       Counterfeit and Infringing Merchandise, some of which are labeled "INEX", that
                        7       were manufactured by a method that includes all of the elements of Claims I and 8
                        8       of the method for making the disposable vials disclosed in Plaintiffs '772 Patent.
                        9       Defendants' infringing activities violate 35 U.S.C. § 271.
                     IO                         60.             Defendants' acts of infringement of the '772 Patent were undertaken
                     11         without permission or license from Plaintiff
                     12                         61.              Plaintiff R. Y .L. is informed and believes, and on that basis alleges, that
                     13         Defendants' infringement of the '772 Patent has been and continues to be intentional,
                     14         willful, and without regard to Plaintiff R.Y.L.'s rights. Plaintiff R.Y.L. is informed
                     15         and believes, and on that basis alleges, that Defendants' infringement of the '772
                     16         Patent is and has been intentional, deliberate, and willful because at a minimum, they
                     17         had knowledge of the '772 Patent through direct or indirect communications with
                     18         Plaintiff R.Y.L. and/or as a result of their participation in the tobacco and smoking
                     19         products industry prior to engaging in their acts of infringement.
                     20                         62.              Plaintiff R.Y.L. is informed and believes, and on that basis alleges, that
                     21         as a direct and proximate result of Defendants' infringement of the '772 Patent,
                     22         Defendants have derived and received gains, profits, and advantages in an amount to
                     23         be proven at time of trial, but which Plaintiff believes are not less than the sum of
                     24         $50,000.00.
                     25                          63.             As a direct and proximate result of Defendants' infringement of the '772
                     26         Patent, Plaintiff R. Y .L. has sustained damages in an amount to be proven at time of
                     27         trial, but which Plaintiff believes are not less than the sum of $50,000.00.
                     28                          64.             Due to the aforesaid infringing acts, Plaintiff has suffered and will
                                                                                               13
                                                                                           COMPLAINT
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                       1       continue to suffer great and irreparable injury from Defendants' infringement of the
                       2       '772 Patent. Plaintiff has no adequate remedy at law and is entitled to an injunction
                       3       against Defendants' continuing infringement of the '772 Patent. Unless enjoined,
                       4       Defendants will continue their infringing conduct.
                       5                                                      FIFTH CLAIM FOR RELIEF
                       6                                                       (Trade Dress Infringement)
                       7                       65.             Plaintiff realleges and incorporates herein by reference each of the
                       8 allegations in paragraphs 1 through 64, inclusive, of this Complaint, as if fully set

                       9       forth herein.
                     1o                        66.             Plaintiff is the owner of all right and title to the distinctive trade dress
                     11        of its disposable vials, which is embodied in the size, shape, color, and overall
                     12        product design of the disposable vials manufactured and sold by Plaintiff. The trade
                     13        dress of the disposable vials has acquired secondary meaning, and is not functional.
                     14                        67.             In addition, based on extensive and consistent advertising, promotion,
                     15        and sales throughout the United States, the trade dress of Plaintiff's disposable vials
                     16        has acquired distinctiveness and enjoys secondary meaning among consumers,
                     17        identifying Plaintiff as the source of these products.
                     18                        68.             Plaintiff's extensive promotion of the distinctive trade dress of its
                     19        disposable vials has resulted in Plaintiff's acquisition of valuable, legally protected
                     20        rights in the trade dress as well as considerable customer goodwill.
                     21                        69.             Defendants'      Counterfeit        and   Infringing   Merchandise      has
                     22        misappropriated the trade dress of Plaintiffs disposable vials by mimicking a
                     23        combination of several elements of that trade dress.
                     24                        70.             Defendants' manufacture and distribution of its Counterfeit and
                     25        Infringing Merchandise with product design features that mimic a combination o
                     26        several elements of the trade dress of Plaintiff's disposable vials, is likely to cause
                     27        confusion, or to cause mistake, or to deceive the consumer as to the affiliation,
                     28        connection, or association of Defendants' Counterfeit and Infringing Merchandise
                                                                                              14
                                                                                         COMPLAINT
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                         1       with Plaintiffs disposable vials.
                        2                        71.              Defendants' manufacture and distribution of its Counterfeit and
                        3        Infringing Merchandise with product design features that mimic a combination o
                        4        several elements of the trade dress of Plaintiffs disposable vials, enables Defendants
                         5       to benefit unfairly from Plaintiffs reputation and success, thereby giving
                        6        Defendants' infringing products sales and commercial value they would not have
                        7        otherwise.
                        8                        72.              Defendants' actions constitute trade dress infringement in violation of
                        9        15 U.S.C. § 1125(a).
                      10                         73.              Defendants' acts of trade dress infringement were undertaken without
                      11         permission or license from Plaintiff.
                      12                         74.              Plaintiff R.Y.L. is informed and believes, and on that basis alleges, that
                      13         Defendants' infringement of the trade dress of Plaintiffs disposable vials has been
                      14         and continues to be intentional, willful, and without regard to PlaintiffR.Y.L. 's rights.
                      15         Plaintiff R.Y.L. is informed and believes, and on that basis alleges, that Defendants'
                      16         infringement of the trade dress of Plaintiffs disposable vials is and has been
                      17         intentional, deliberate, and willful because at a minimum, they had knowledge of the
                      18         trade dress of Plaintiffs disposable vials through direct or indirect communications
                      19         with Plaintiff R.Y.L. and/or as a result of their participation in the tobacco and
                      20         smoking products industry prior to engaging in their acts of infringement.
                      21                         75.              Plaintiff R. Y .L. is informed and believes, and on that basis alleges, that
                      22         as a direct and proximate result of Defendants' infringement of the trade dress o
                      23         Plaintiffs disposable vials, Defendants have derived and received gains, profits, and
                      24         advantages in an amount to be proven at time of trial, but which Plaintiff believes are
                      25         not less than the sum of $50,000.00.
                      26                         76.              As a direct and proximate result ofDefendants' infringement of the trade
                      27         dress of Plaintiffs disposable vials, Plaintiff R. Y .L. has sustained damages in an
                      28         amount to be proven at time of trial, but which Plaintiff believes are not less than the
                                                                                                15
                                                                                            COMPLAINT
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                     1      sum of $50,000.00.
                     2                    77.           Due to the aforesaid infringing acts, Plaintiff has suffered and will
                     3      continue to suffer great and irreparable injury from Defendants' infringement of the
                     4      trade dress of Plaintiffs disposable vials. Plaintiff has no adequate remedy at law
                     5      and is entitled to an injunction against Defendants' continuing infringement of the
                     6      trade dress of Plaintiffs disposable vials. Unless enjoined, Defendants will continue
                     7 their infringing conduct.

                     8                                                SIXTH CLAIM FOR RELIEF
                     9                                                (False Designation of Origin)
                   10                     78.           Plaintiff realleges and incorporates herein by reference each of the
                   11       allegations in paragraphs 1 through 77, inclusive, of this Complaint, as if fully set
                   12       forth herein.
                   13                     79.           Plaintiff is the owner of all right and title to the distinctive trade dress
                   14       of its disposable vials, which is embodied in the size, shape, color, and overall
                   15       product design of the disposable vials manufactured and sold by Plaintiff. The trade
                   16       dress of the disposable vials has acquired secondary meaning, and is not functional.
                   17                     80.           In addition, based on extensive and consistent advertising, promotion,
                   18       and sales throughout the United States, the trade dress of Plaintiffs disposable vials
                   19       has acquired distinctiveness and enjoys secondary meaning among consumers,
                   20       identifying Plaintiff as the source of these products.
                   21                     81.           Plaintiffs extensive promotion of the distinctive trade dress of its
                   22       disposable vials has resulted in Plaintiffs acquisition of valuable, legally protected
                   23       rights in the trade dress as well as considerable customer goodwill.
                   24                     82.           Defendants have falsely designated the origin of their Counterfeit and
                   25       Infringing Merchandise by mimicking a combination of several elements of the trade
                   26       dress of Plaintiffs disposable vials.
                   27                     83.           Defendants' manufacture and distribution of its Counterfeit and
                   28       Infringing Merchandise with product design features that mimic a combination of
                                                                                      16
                                                                                  COMPLAINT
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                         1       several elements of the trade dress of Plaintiffs disposable vials, is likely to cause
                        2        confusion, or to cause mistake, or to deceive the consumer as to the affiliation,
                        3        connection, or association of Defendant with Plaintiff, or as to the origin,
                        4        sponsorship, or approval by Plaintiff of Defendants' goods, services, or commercial
                        5 activities.
                        6                        84.              Defendants' manufacture and distribution of its Counterfeit and
                        7        Infringing Merchandise with product design features that mimic a combination o
                        8        several elements of the trade dress of Plaintiffs disposable vials, enables Defendants
                        9        to benefit unfairly from Plaintiffs reputation and success, thereby giving
                      1o         Defendants' infringing products sales and commercial value they would not have
                      11         otherwise.
                      12                         85.              Defendants' action constitute false designation of origin in violation of
                      13         15 U.S.C. § 1125(a).
                      14                         86.              Defendants' acts of false designation of origin were undertaken without
                      15         permission or license from Plaintiff.
                      16                         87.              Plaintiff R.Y.L. is informed and believes, and on that basis alleges, that
                      17         Defendants' acts of false designation of origin have been and continue to be
                      18         intentional, willful, and without regard to PlaintiffR.Y.L. 's rights. PlaintiffR.Y.L. is
                      19         informed and believes, and on that basis alleges, that Defendants' acts of false
                      20         designation of origin are and have been intentional, deliberate, and willful because at
                      21         a minimum, they had knowledge of the trade dress of Plaintiffs disposable vials
                      22         through direct or indirect communications with Plaintiff R.Y.L. and/or as a result o
                      23         their participation in the tobacco and smoking products industry prior to engaging in
                      24         their infringing conduct.
                      25                         88.              Plaintiff R. Y .L. is informed and believes, and on that basis alleges, that
                      26         as a direct and proximate result of Defendants' acts of false designation of origin,
                      27         Defendants have derived and received gains, profits, and advantages in an amount to
                      28         be proven at time of trial, but which Plaintiff believes are not less than the sum o
                                                                                                17
                                                                                            COMPLAINT
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                        1       $50,000.00.
                        2                        89.             As a direct and proximate result of Defendants' acts of false designation
                        3       of origin, Plaintiff R.Y.L. has sustained damages in an amount to be proven at time
                        4       of trial, but which Plaintiff believes are not less than the sum of $50,000.00.
                        5                        90.             Due to the aforesaid infringing acts, Plaintiff has suffered and will
                        6       continue to suffer great and irreparable injury from Defendants' acts of false
                        7 designation of origin. Plaintiff has no adequate remedy at law and is entitled to an
                        8       injunction against Defendants' continuing acts of false designation of origin. Unless
                        9       enjoined, Defendants will continue their infringing conduct.
                      10                                                        SEVENTH CLAIM FOR RELIEF
                      11                                                          (Unfair Business Practices)
                      12                         91.             Plaintiff realleges and incorporates herein by reference each of the
                      13        allegations in paragraphs 1 through 90, inclusive, of this Complaint, as if fully set
                      14        forth herein.
                      15                         92.             The acts of Defendants described above constitute fraudulent and
                      16        unlawful business practices as defined by California Business & Professions Code
                      17        § 17200, et seq.
                      18                         93.             Plaintiff has valid and protectable prior rights in the trade dress of its
                      19        disposable vials. The trade dress of Plaintiffs disposable vials do not serve any
                     20         function other than to identify Plaintiff has the source of its disposable vial products.
                     21         The trade dress of Plaintiffs disposable vials is inherently distinctive, and, through
                     22         Plaintiffs long use, have come to be associated solely with Plaintiff as the source of
                     23         the products on which it is used.
                     24                          94.             Defendants' use of its infringing trade dress is likely to cause confusion
                     25         as to the source of Defendants' Counterfeit and Infringing Merchandise and is likely
                     26         to cause others to be confused or mistaken into believing that there is a relationship
                     27         between Defendants and Plaintiff or that Defendants' Counterfeit and Infringing
                     28         Merchandise is affiliated with or sponsored by Plaintiff.
                                                                                              18
                                                                                           COMPLAINT
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                         1                        95.             The above-described acts and practices by Defendants are likely to
                        2        mislead or deceive the general public and therefore constitute fraudulent business
                        3        practices in violation of California Business & Professions Code § 17200, et seq.
                        4                        96.              The above-described acts constitute trade dress infringement and false
                         5       designation of origin under Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a),
                        6        and are therefore unlawful acts in violation of California Business & Professions
                        7        Code § 17200, et seq.
                         8                       97.              Plaintiff R. Y .L. is informed and believes, and on that basis alleges, that
                        9        Defendants' infringing acts have been and continue to be intentional, willful, and
                      10         without regard to PlaintiffR.Y.L.'s rights. PlaintiffR.Y.L. is informed and believes,
                      11         and on that basis alleges, that Defendants' infringing acts are and have been
                      12         intentional, deliberate, and willful because at a minimum, they had knowledge of the
                      13         trade dress of Plaintiffs disposable vials through direct or indirect communications
                      14         with Plaintiff R.Y.L. and/or as a result of their participation in the tobacco and
                      15         smoking products industry prior to engaging in their infringing conduct.
                      16                         98.              Plaintiff R.Y.L. is informed and believes, and on that basis alleges, that
                      17         as a direct and proximate result of Defendants' infringing acts, Defendants have
                      18         derived and received gains, profits, and advantages in an amount to be proven at time
                      19         of trial, but which Plaintiff believes are not less than the sum of $50,000.00.
                      20                         99.              As a direct and proximate result of Defendants' infringing acts, Plaintiff
                      21         R. Y .L. has sustained damages in an amount to be proven at time of trial, but which
                      22         Plaintiff believes are not less than the sum of $50,000.00.
                      23                          100. Due to the aforesaid infringing acts, Plaintiff has suffered and will
                      24         continue to suffer great and irreparable injury from Defendants' acts of false
                      25         designation of origin. Plaintiff has no adequate remedy at law and is entitled to an
                      26         injunction against Defendants' continuing acts of false designation of origin. Unless
                      27         enjoined, Defendants will continue their infringing conduct.
                      28                         WHEREFORE, Plaintiff prays for a judgment against Defendants Scientific
                                                                                                19
                                                                                            COMPLAINT
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                          1       Glass Art, Avila, and Zahran as follows:
                         2                         1.              A judgement that each of Plaintiff R. Y .L. 's asserted patents are valid
                         3        and enforceable;
                         4                         2.              A judgment that Defendants Scientific Glass Art, Avila, and Zahran
                         5        have infringed, contributorily infringed, and/or induced infringement of one or more
                         6        of Plaintiff R. Y .L. 's asserted patents;
                         7                         3.              An order and judgment preliminarily and permanently enJommg
                         8        Defendants Scientific Glass Art, Avila, Zahran, and their officers, directors, agents,
                         9        servants, employees, affiliates, attorneys, and all other acting in privity or in concert
                       1o         with them, and their parents, subsidiaries, divisions, successors, and assigns, from
                       11         further acts of infringement of Plaintiff R.Y.L.'s asserted patents;
                       12                          4.              A judgment awarding Plaintiff R.Y.L. all damages adequate to
                       13         compensate for Defendants Scientific Glass Art, Avila, and Zahran's infringement
                       14         of R. Y .L. 's asserted patents in an amount to be proven at time of trial, but which
                       15         Plaintiff believes are not less than the sum of $50,000.00, plus all prejudgment and
                       16         post-judgment interest at the maximum rate permitted by law;
                       17                          5.              A judgment awarding Plaintiff R.Y.L. treble damages based on any
                       18         infringement found to be willful, pursuant to 35 U .S.C. § 284, in an amount to be
                       19        proven at time of trial, but which Plaintiff believes are not less than the sum o
                      20          $150,000.00, plus prejudgment interest;
                      21                           6.              A judgment awarding PlaintiffR.Y.L. all of Defendants Scientific Glass
                      22         Art, Avila, and Zahran' s profits, pursuant to 35 U .S.C. § 289, in an amount to be
                      23         proven at time of trial, but which Plaintiff believes are not less than the sum o
                      24          $50,000.00, plus prejudgment interest as authorized by law;
                      25                          7.               An order preliminarily and permanently enjoining Defendants Scientific
                      26          Glass Art, Avila, and Zahran and their officers, directors, agents, servants,
                      27          employees, affiliates, attorneys, and all others acting in privity or in concert with
                      28          them, and their parents, subsidiaries, divisions, successors, and assigns, from directly
                                                                                               20
                                                                                            COMPLAINT
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                        1       or indirectly:
                        2                                        a.             infringing the trade dress of Plaintiff R. Y .L. 's disposable vials,
                        3       or using any other product, product design, or designations similar to or likely to
                        4       cause confusion with the trade dress of Plaintiff R. Y .L. 's disposable vials;
                        5                                        b.             from passing off Defendants' products as being associated with
                        6       or sponsored or affiliated with Plaintiff R.Y.L.;
                        7                                        c.             from committing any other unfair business practices directed
                        8       toward obtaining for themselves the business and customers of PlaintiffR.Y.L.; and
                        9                                        d.             from committing any other unfair business practices directed
                     1o         toward devaluing or diminishing the brand or business of Plaintiff R. Y .L.
                     11                         8.               A judgment awarding PlaintiffR.Y.L. all of Defendants Scientific Glass
                     12         Art, Avila, and Zahran's profits, pursuant to 15 U.S.C. § 1117(a), in an amount to be
                     13         proven at time of trial, but which Plaintiff believes are not less than the sum of
                      14        $50,000.00, plus prejudgment interest as authorized by law;
                     15                         9.               A judgment awarding Plaintiff R. Y .L. all damages adequate to
                     16         compensate for Defendants Scientific Glass Art, Avila, and Zahran's infringement
                     17         of R.Y.L. 's trade dress rights in an amount to be proven at time of trial, but which
                     18         Plaintiff believes are not less than the sum of $50,000.00, plus all prejudgment and
                     19         post-judgment interest at the maximum rate permitted by law;
                     20                          10.             A judgment awarding Plaintiff R. Y .L. treble damages based on any
                     21         infringement found to be willful, pursuant to 15 U.S.C. § 1117(b), in an amount to
                     22         be proven at time of trial, but which Plaintiff believes are not less than the sum of
                     23         $150,000.00, plus prejudgment interest;
                     24                          11.             Actual damages suffered by Plaintiff R. Y .L. as a result of Defendants
                     25         Scientific Glass Art, Avila, and Zahran's unlawful conduct, in an amount to be
                     26         proven at trial, but which Plaintiff believes are not less than the sum of $50,000.00,
                     27         plus prejudgment interest as authorized by law;
                     28                          12.             Restitutionary relief against Defendants and in favor of PlaintiffR.Y.L.,
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                                                                                                   COMPLAINT
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                                    including disgorgement of wrongfully obtained profits and any other appropriate
                           2        relief;
                           3                          13.               A judgment that this is an exceptional case and an award to Plaintiff
                          4         R.Y.L. of its costs and reasonable attorney's fees incmTed in this action as provided
                           5        by 35 U.S.C. § 285 and 15 U.S.C. § lll 7(a); and
                           6                          14.              For such other and further relief as the Court may deem just and proper.
                           7                                                            DEMAND FOR JURY TRIAL
                           8                          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff
                           9        R.Y.L. hereby demands trial by jury on all issues raised by the Complaint.
                        10
                        11                                                                         Respectfully submitted,
                        12          Dated: June 2 Y , 2020                                         S TERN & GOLDBERG

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                        14                                                                    By
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                                                                                                     -fr/7Mr#2--
                                                                                                     N .    GOLDBERG
                        15                                                                         P ETER TRAN
                                                                                                   Attorneys for Plaintiff
                        16
                                                                                                   R.Y.L. Inc., a California corporation
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